

ORDER

PER CURIAM:
AND NOW, this 30th day of March, 2004, there having been filed with this Court by Joseph Allen Jaffe his verified Statement of Resignation dated January 26, 2004, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
*669ORDERED that the resignation of Joseph Allen Jaffe be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Mr. Justice Baer did not participate in this matter.
